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                             UNITED STATES DISTRICT COURT
                             EASTERN DISTRICT OF VIRGINIA
                                NEWPORT NEWS DIVISION



 Samantha Gross, individually and on behalf of all others
 similarly situated,
                                           Plaintiff,




                                                                        C.A. No:
        -v.-
 Davis and Goldmark, Inc., and John Does 1-25,

                                       Defendants.


               CLASS ACTION COMPLAINT DEMAND FOR JURY TRIAL


       Plaintiff Samantha Gross (hereinafter, “Plaintiff”), a Virginia resident, brings this Class

Action Complaint by and through her attorneys, against Davis and Goldmark, Inc. (hereinafter

“Defendant D&G”), individually and on behalf of a class of all others similarly situated, pursuant

to Rule 23 of the Federal Rules of Civil Procedure, based upon information and belief of Plaintiff’s

counsel, except for allegations specifically pertaining to Plaintiff, which are based upon Plaintiff's

personal knowledge.

                                        INTRODUCTION

       1.      Congress enacted the Fair Debt Collection Practices Act (“FDCPA”) in 1977 in

   response to the "abundant evidence of the use of abusive, deceptive, and unfair debt collection

   practices by many debt collectors." 15 U.S.C. §1692(a). At that time, Congress was concerned

   that "abusive debt collection practices contribute to the number of personal bankruptcies, to



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  material instability, to the loss of jobs, and to invasions of individual privacy." Id. Congress

  concluded that "existing laws…[we]re inadequate to protect consumers," and that "the effective

  collection of debts" does not require "misrepresentation or other abusive debt collection

  practices." 15 U.S.C. §§ 1692(b) & (c).

     2.      Congress explained that the purpose of the FDCPA was not only to eliminate abusive

  debt collection practices, but also to "insure that those debt collectors who refrain from using

  abusive debt collection practices are not competitively disadvantaged." ld. § 1692(e). After

  determining that the existing consumer protection laws were inadequate, Congress created a

  private cause of action to provide consumers with a remedy against debt collectors who fail to

  comply with the FDCPA. Id. § 1692k.

                                 JURISDICTION AND VENUE

     3.      The Court has jurisdiction over this class action pursuant to 28 U.S.C. § 1331 and

  15 U.S.C. § 1692 et. seq. The Court has pendent jurisdiction over any state law claims in this

  action pursuant to 28 U.S.C. § 1367(a).

     4.      Venue is proper in this judicial district pursuant to 28 U.S.C. § 1391(b)(2) as this is

  where a substantial part of the events or omissions giving rise to the claim occurred.



                                    NATURE OF THE ACTION

     5.      Plaintiff brings this class action on behalf of a class of Virginia consumers under §

  1692 et seq. of Title 15 of the United States Code, commonly referred to as the Fair Debt

  Collections Practices Act ("FDCPA"), and

     6.      Plaintiff is seeking damages and declaratory relief.
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                                             PARTIES

     7.      Plaintiff is a resident of the State of Virgina, residing at 2305 Chesapeake Avenue,

  Hampton, VA 23661.

     8.      Defendant D&G is a "debt collector" as the phrase is defined in 15 U.S.C.

  § 1692(a)(6) and used in the FDCPA with an address at 6974 Brockton Ave #203, Riverside CA

  92506 and can be served upon their registered agent Jennifer Mermilliod at 6974 Brockton Ave

  #203, Riverside CA 92506.

     9.      Upon information and belief, Defendant D&G is a company that uses the mail,

  telephone, and facsimile and regularly engages in business the principal purpose of which is to

  attempt to collect debts alleged to be due another.

     10.     John Does l-25, are fictitious names of individuals and businesses alleged for the

  purpose of substituting names of Defendants whose identities will be disclosed in discovery and

  should be made parties to this action.

                                      CLASS ALLEGATIONS

     11.     Plaintiff brings this claim on behalf of the following case, pursuant to Fed. R. Civ.

  P. 23(a) and 23(b)(3).

     12.     The Class consists of:

             a. all individuals with addresses in the State of Virginia;

             b. to whom Defendant D&G sent a collection letter attempting to collect a consumer

                 debt;

             c. regarding collection of a debt;

             d. whose letters falsely and deceptively imply that litigation can occur, when in

                 reality no lawsuit can be filed by this firm;
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              e. as well as including threatening and harassing language, by threatening “drastic

                 measures”

              f. which letter was sent on or after a date one (1) year prior to the filing of this

                 action and on or before a date twenty-one (2l) days after the filing of this action.

     13.      The identities of all class members are readily ascertainable from the records of

  Defendants and those companies and entities on whose behalf they attempt to collect and/or

  have purchased debts.

     14.      Excluded from the Plaintiff Class are the Defendants and all officer, members,

  partners, managers, directors and employees of the Defendants and their respective immediate

  families, and legal counsel for all parties to this action, and all members of their immediate

  families.

     15.      There are questions of law and fact common to the Plaintiff Class, which common

  issues predominate over any issues involving only individual class members. The principal issue

  is whether the Defendants' written communications to consumers, in the forms attached as

  Exhibits A, violate 15 U.S.C. §§ l692e and 1692f.

     16.      The Plaintiff’s claims are typical of the class members, as all are based upon the same

  facts and legal theories. The Plaintiff will fairly and adequately protect the interests of the

  Plaintiff Class defined in this complaint. The Plaintiff has retained counsel with experience in

  handling consumer lawsuits, complex legal issues, and class actions, and neither the Plaintiff

  nor her attorneys have any interests, which might cause them not to vigorously pursue this

  action.
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     17.     This action has been brought, and may properly be maintained, as a class action

  pursuant to the provisions of Rule 23 of the Federal Rules of Civil Procedure because there is a

  well-defined community interest in the litigation:

             a. Numerosity: The Plaintiff Class defined above is so numerous that joinder of

                 all members would be impractical.

             b. Common Questions Predominate: Common questions of law and fact exist as

                 to all members of the Plaintiff Class and those questions predominance over any

                 questions or issues involving only individual class members. The principal issue

                 is whether the Defendants' written communications to consumers, in the forms

                 attached as Exhibit A violate 15 § l692e and §1692f.

             c. Typicality: The Plaintiff’s claims are typical of the claims of the class members.

                 The Plaintiff and all members of the Plaintiff Class have claims arising out of the

                 Defendants' common uniform course of conduct complained of herein.

             d. Adequacy: The Plaintiff will fairly and adequately protect the interests of the

                 class members insofar as Plaintiff has no interests that are adverse to the absent

                 class members. The Plaintiff is committed to vigorously litigating this matter.

                 Plaintiff has also retained counsel experienced in handling consumer lawsuits,

                 complex legal issues, and class actions. Neither the Plaintiff nor her counsel has

                 any interests which might cause them not to vigorously pursue the instant class

                 action lawsuit.

             e. Superiority: A class action is superior to the other available means for the fair

                 and efficient adjudication of this controversy because individual joinder of all

                 members would be impracticable. Class action treatment will permit a large
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                 number of similarly situated persons to prosecute their common claims in a single

                 forum efficiently and without unnecessary duplication of effort and expense that

                 individual actions would engender.

     18.     Certification of a class under Rule 23(b)(3) of the Federal Rules of Civil Procedure

  is also appropriate in that the questions of law and fact common to members of the Plaintiff

  Class predominate over any questions affecting an individual member, and a class action is

  superior to other available methods for the fair and efficient adjudication of the controversy.

     19.     Depending on the outcome of further investigation and discovery, Plaintiff may, at

  the time of class certification motion, seek to certify a class(es) only as to particular issues

  pursuant to Fed. R. Civ. P. 23(c)(4).


                                     FACTUAL ALLEGATIONS

     20.     Plaintiff repeats, reiterates and incorporates the allegations contained in paragraphs

  numbered above herein with the same force and effect as if the same were set forth at length

  herein.

     21.     Some time prior to July 15, 2019, an obligation was allegedly incurred by Plaintiff.

     22.     The alleged obligation arose out of a transaction involving a debt allegedly incurred

  by Plaintiff with Spotloan.com in which the subject of the transaction was primarily for personal,

  family or household purposes.

     23.     The alleged obligation is a "debt" as defined by 15 U.S.C.§ 1692a(5).

     24.     The owner of the alleged obligation is a "creditor" as defined by 15 U.S.C.§ 1692a(4).

     25.     The owner of the obligation contracted with the Defendant to collect the alleged debt.
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      26.      Defendant collects and attempts to collect debts incurred or alleged to have been

  incurred for personal, family or household purposes on behalf of creditors using the United

  States Postal Services, telephone and internet.

                               Violation – July 15, 2019 Collection Letter

      27.      On or about July 15, 2019, Defendant sent the Plaintiff a collection letter (the

  “Letter”) seeking to collect an alleged debt. See Collection Letter – Attached hereto as

  Exhibit A.

      28.      The letter warned:

      “Please be advised that I have been authorized to offer you an attempt at settling this account

      before further legal action is recommended against you.

      We offer a settlement of $1,150.00 to clear this balance. If you wish to take advantage of

      this offer your payment is due in our office not later than 08 01 19. Failure to comply will

      result in our immediate recommendation to our client for legal action.

      This is your final opportunity to contact us to avoid unnecessary drastic measures.

      29.      The threat that Plaintiff must make payment or avoid immediate recommendation for

  legal action is false and misleading because Defendant had no intention of immediate legal

  action and as of this date, Plaintiff has still not been sued.

      30.      Furthermore, Defendant implies threats of a lawsuit throughout the letter despite the

  fact that Defendant is not a law firm and cannot pursue legal action.

      31.      In addition, the statement contains an ominous threat that this is Plaintiff’s final

  opportunity to contact to avoid “unnecessary drastic measures,” which is threatening and

  harassing to Plaintiff as it implies that Defendant will use methods outside the regular course of
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  debt collection to collect this debt and only serves to threaten Plaintiff into making immediate

  payment.

     32.     As a result of Defendant’s deceptive misleading and false debt collection practices,

  Plaintiff has been damaged.


                             COUNT I
VIOLATIONS OF THE FAIR DEBT COLLECTION PRACTICES ACT 15 U.S.C. §1692e
                               et seq.

     33.     Plaintiff repeats, reiterates and incorporates the allegations contained in paragraphs

  above herein with the same force and effect as if the same were set forth at length herein.

     34.     Defendant’s debt collection efforts attempted and/or directed towards the Plaintiff

  violated various provisions of the FDCPA, including but not limited to 15 U.S.C. § 1692e.

     35.     Pursuant to 15 U.S.C. §1692e, a debt collector may not use any false, deceptive, or

  misleading representation or means in connection with the collection of any debt.

     36.     Defendant violated said section

             a.      by making a false and misleading representation in violation of §1692e(10);

             b.      by falsely representing the character, amount of legal status of the debt in

     violation of §1692e(2)(A);

             c.      my making the threat to take any action that cannot legally be taken or that is

     not intended to be taken in violation of §1692e(5).

     37.     By reason thereof, Defendant is liable to Plaintiff for judgment that Defendant's

  conduct violated Section 1692e et seq. of the FDCPA, actual damages, statutory damages, costs

  and attorneys’ fees.
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                                  COUNT II
       VIOLATIONS OF THE FAIR DEBT COLLECTION PRACTICES ACT 15 U.S.C.
                                 §1692f et seq.

      38.     Plaintiff repeats, reiterates and incorporates the allegations contained in paragraphs

  above herein with the same force and effect as if the same were set forth at length herein.

      39.     Defendant’s debt collection efforts attempted and/or directed towards the Plaintiff

  violated various provisions of the FDCPA, including but not limited to 15 U.S.C. § 1692f.

      40.     Pursuant to 15 U.S.C. §1692f, a debt collector may not use any unfair or

  unconscionable means in connection with the collection of any debt.

      41.     Defendant violated this section by falsely threatening and harassing Plaintiff with the

  letter containing false threats.

      42.     By reason thereof, Defendant is liable to Plaintiff for judgment that Defendant's

  conduct violated Section 1692f et seq. of the FDCPA, actual damages, statutory damages, costs

  and attorneys’ fees.

                                     DEMAND FOR TRIAL BY JURY

      43.     Pursuant to Rule 38 of the Federal Rules of Civil Procedure, Plaintiff hereby requests

  a trial by jury on all issues so triable.

                                        PRAYER FOR RELIEF

      WHEREFORE, Plaintiff Samantha Harris, individually and on behalf of all others

  similarly situated demands judgment from Defendant Davis and Goldmark, Inc. as follows:

      1.      Declaring that this action is properly maintainable as a Class Action and certifying

  Plaintiff as Class representative, and Aryeh Stein, Esq. as Class Counsel;

      2.      Awarding Plaintiff and the Class statutory damages;

      3.      Awarding Plaintiff and the Class actual damages;
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      4.       Awarding Plaintiff costs of this Action, including reasonable attorneys’ fees and

   expenses;

      5.       Awarding pre-judgment interest and post-judgment interest; and

      6.       Awarding Plaintiff and the Class such other and further relief as this Court may deem

   just and proper.


      Dated: November 20, 2019                                      Respectfully Submitted,



                                                                    Meridian Law, LLC
                                                                    /s/ Aryeh E. Stein
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